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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

IN RE: ABBOTT LABORATORIES, ET
AL., PRETERM INFANT NUTRITION
PRODUCTS LIABILITY LITIGATION                            MDL No. 3026

                                                         Master Docket No. 1:22–cv–00071
This Document Relates to:
                                                         Hon. Rebecca R. Pallmeyer
KEOSHA DIGGS, Individually and as Parent
and General Guardian of K.B., a minor vs.                JURY DEMAND
ABBOTT LABORATORIES, et al, Case No. 1:
22-cv-05356



                JOINT AGREED PRE-TRIAL STIPULATIONS

  I.    Pre-trial motion practice, pre-trial orders, and jury instructions / questionnaires

        a. Summary judgment motions and remaining Daubert motions are due on June 2,
           2025, responses are due on July 2, 2025, and replies are due on July 14, 2025.
           Arguments on such motions will be heard at a hearing the week of July 21. The
           parties will discuss with the Court during the June 11 hearing their position on
           live witnesses.

        b. Daubert motions will each be capped at 15 pages for openings and 15 pages for
           responses, with 10 pages for replies. Motions for summary judgment will be
           capped at 30 pages for openings and 35 pages for responses, with 15 pages for
           replies.

        c. The parties shall file motions in limine on June 27, 2025. Responses will be due
           July 18, 2025.

        d. The parties agree to the following page limits for motions in limine: 25 pages for
           opening and 25 pages for responses, to be allocated across all motions. There will
           be no replies. If the parties have a large number of unanticipated disputes, any
           party may request additional pages from the Court.

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       e. The parties will submit an agreed pre-trial order no later than July 23, 2025,
          which will include the parties’ witness lists, exhibit lists, and proposed jury
          instructions. A final pretrial conference will be set for the week of July 28, and
          all motions in limine and any other remaining pretrial motions will be heard on
          that date.

       f. The parties will submit a proposed jury questionnaire two business days before
          the final pretrial conference. Any disagreements between the parties as to any
          portion(s) of the jury questionnaire will be addressed with the Court at the final
          pretrial conference.

II.    Exhibits

       a. The parties shall produce their pre-marked exhibits on or before 7:00 p.m. Central
          Time on July 28, 2025.

               i.   The exhibit list shall include the following fields: Exhibit number, Begin
                    Bates, End Bates, Date, Description and / or file name.

              ii.   If an exhibit is not readily available in digital format or cannot be
                    branded (e.g. hard copy books), the parties need not provide that exhibit
                    on July 28, 2025, and shall meet and confer about the production of such
                    exhibits by July 31, 2025.

       b. The parties may supplement their exhibit lists. Supplemental exhibits must be
          identified by 7:00 p.m. Central Time the night before they are used.

       c. Other than if being used solely for impeachment, documents used on cross-
          examination shall be included on a party’s exhibit list.

       d. Any exhibit used with a witness must be made available to opposing counsel in
          hard copy before it is used. All objections are otherwise reserved.

III.   Deposition Designations

       a. Plaintiff will provide affirmative deposition designations on a rolling basis
          beginning the week of June 2, 2025. Given the parties’ extensive efforts at
          narrowing deposition designations in advance of the Mar trial, these designations
          are expected to be close to final trial cuts.


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      b. Defendant will provide objections to Plaintiff’s affirmative designations, as well
         as any rule of completeness designations and counter designations (with each
         such designation specifically identified as either a completeness designation or
         counter designation and identifying the specific page and lines of Plaintiff’s
         affirmative designations that each of Defendant’s designations either completes or
         counters) within 7 days of receipt of Plaintiff’s affirmative designations;

      c. Plaintiffs will provide responses to Defendant’s objections, objections to
         Defendant’s rule of completeness designations and counter designations, and any
         rule of completeness designations and counter designations to Defendant’s
         designations (with each such designation specifically identified as either a
         completeness designation or counter designation and identifying the specific page
         and lines of Defendant’s designations that each of Plaintiff’s designations either
         completes or counters) within 7 days of receipt of Defendant’s objections and
         completeness/counter designations;

      d. Defendant will provide responses to Plaintiff’s objections, as well as objections to
         Plaintiff’s rule of completeness designations and counter designations within 5
         days of receipt of Plaintiff’s completeness/counter designations;

      e. The parties will meet and confer to attempt to resolve as many objections as
         possible and then submit all remaining objections to the Court for resolution
         within 5 days of receipt of Defendant’s objections to Plaintiff’s
         completeness/counter designations.

      f. If any round of designations is overly large or does not reflect a good faith
         attempt at a near-final trial cut, the parties agree to work together on good faith
         adjustments to the above schedule.

      g. These designations will be without prejudice. The parties agree to work
         cooperatively on changes (including minor additions) closer in time to play.

      h. The parties agree to make a good faith effort to complete the designation process
         in sufficient time for opposing counsel to view the completed video, witness
         introduction, and a list of exhibits to be admitted, no later than 7 PM two nights
         before it is played. To the extent any changes need to be made to the designation
         after the 7 PM deadline, such changes must be made and exchanged by 11 PM
         that same evening.




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      i. The parties understand that trial is dynamic and that there may be occasions
         where a party decides that testimony from unexpected witness is necessary for
         their case. If that is done in good faith, the parties agree to work together in good
         faith to expedite the designations, objections, and counters for that witness.

      j. Defendant will commence deposition designations on June 23, 2025, and shall
         produce additional designations on a pro-rata basis each subsequent Friday
         through August 8, 2025. Plaintiff shall counter-designate and object as set forth in
         Paragraph IV(b)-(e).

      k. Objections to deposition testimony and responses thereto will not be played
         unless editing to remove the same obscures the witness’ testimony.

IV.   Trial timing

      a. The parties will request that the Court provide questionnaires to prospective jurors
         on August 4, 2025.

      b. Jury selection will occur on August 7, 2025.

      c. The parties will request that opening arguments occur the morning of August 8,
         2025, followed by the beginning of Plaintiff’s case-in-chief. The parties agree
         that Plaintiff and Abbott will each have 35 hours to present their case inclusive of
         openings and closings. The parties further agree that the maximum time limit for
         openings will be 1 hour and 45 minutes and for closings will be 2 hours and 15
         minutes.

V.    Witnesses at Trial

      a. Parties shall identify any non-deposed witnesses expected to be called at trial, and
         indicating either live or by deposition, no later than July 10, 2025. The parties
         reserve the right to request in good faith to call additional non-deposed witnesses
         who are listed on their witness list in the agreed pre-trial order depending on the
         evidence and argument elicited at trial.

      b. The parties will exchange a list of likely “will call” witnesses simultaneously at
         7:00 p.m. Central Time on July 28, 2025. This list will be without prejudice, but
         all parties reserve the right to object to new or resurrected witnesses based on
         prejudicial or unfair surprise.




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      c. The parties agree that every Friday by 7:00 PM Central Time, a party will
         disclose a good faith list of witnesses for the following week, including a good
         faith estimate of the order in which these witnesses will be called. As trial is
         dynamic, such disclosures will be without prejudice and such disclosures may be
         amended in good faith.

      d. Each party will make a good faith disclosure of witnesses they intend to call no
         later than 7:00 p.m. Central Time each evening, 36 hours before the witness takes
         the stand. Disclosures for Monday will occur no later than Saturday, and
         disclosures for Tuesday will occur no later than Sunday. The daily disclosures
         will likewise be in the order of the witnesses as they intend to call them. As trial is
         dynamic, such disclosures will be without prejudice and such disclosures may be
         amended in good faith.

      e. Parties shall produce any exhibits to be used with a witness called in that party’s
         case on direct in hard copy at the outset of the examination. The party cross-
         examining such witness shall produce in hard copy any exhibits they may use
         during cross-examination of that witness that day at the outset of the cross-
         examination. The cross-examining party may not use any exhibit on cross that day
         that was not produced in hard copy prior to the cross examination unless the
         cross-examining party seeks and is granted leave of Court to do so prior to asking
         the witness any questions related to such document or by agreement of the parties.
         This agreement does not require re-disclosure of exhibits used on direct prior to
         use on cross-examination.

      f. The parties shall produce by no later than 8:00 a.m. Central Time any slide
         presentations or pre-prepared physical chart or outline (or similar) to be used that
         day with a witness called in that party's case on direct. The parties shall produce
         to opposing counsel any slide presentations or pre-prepared physical chart or
         outline (or similar) to be used on cross examination with a witness that day
         immediately before the witness takes the stand for cross-examination. The cross-
         examining party may not use any slide presentation or pre-prepared physical chart
         or outline (or similar) on cross that day that was not produced prior to the cross
         examination unless the cross-examining party seeks and is granted leave of Court
         to do so prior to asking the witness any questions related to said slide presentation
         or pre-prepared physical chart or outline (or similar) or by agreement of the
         parties. This requirement shall not apply to demonstratives created during
         examinations (e.g., whiteboard). This agreement does not require re-disclosure of
         demonstratives used on direct prior to use on cross-examination.



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                  i.      The parties will present argument to the Court on any outstanding
                          objections before the demonstrative is intended to be used.

   VI.    Motion Practice During Trial

          a. Prior to filing any motion during trial related to evidentiary issues anticipated to
             be heard, the parties shall meet and confer no later than 7:00 p.m. CST on the day
             before the motion is to be filed.

          b. In the event the parties are unable to resolve the issue, the party seeking relief
             may file a letter brief and will endeavor to limit it to three pages. To the extent
             there are multiple issues that require court intervention, total briefing on all issues
             should generally not exceed seven pages.

          c. A party’s decision not to file an opposition brief shall not be deemed a waiver and
             may be discussed with the Court prior to commencing each trial day as the issues
             arise.

Respectfully submitted,


 /s/ C. Andrew Childers                              /s/ Linda Coberly
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Joint

Agreed Pre-Trial Stipulations was served upon counsel of record on June 11, 2025, via the

Court’s electronic filing system.

                                                    /s/ Linda Coberly
                                                    Counsel for Defendants Abbott
                                                    Laboratories and Abbott Laboratories, Inc.




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